AO 455 (Rev. 01/09) Waiver of an Indictment                                                                              Jan 26 2021


                                       UNITED STATES DISTRICT COURT
                                                              for the
                                                     NorthernDistrict
                                                  __________ Districtofof__________
                                                                          California

                  United States of America                        )
                             v.                                   )     Case No. CR 21-0031 JSW
                         Scott A. Long                            )
                                                                  )
                             Defendant                            )

                                                  WAIVER OF AN INDICTMENT

        I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

       After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.



Date:         01/25/2021                                                                     w/ consent of Scott Long
                                                                                            Defendant’s signature




                                                                                       Signature of defendant’s attorney

                                                                                               Joyce Leavitt
                                                                                   Printed name of defendant’s attorney




                                                                                              Judge’s signature

                                                                                   Hon. NC, U.S. Magistrate Judge
                                                                                        Judge’s printed name and title




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